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TRINA A. HIGGINS, United States Attorney (#7349)
ANGELA JEAN CLIFFORD, Assistant United States Attorney (#17485)
PETER REICHMAN, Special Assistant United States Attorney (#15241)
Attorneys for the United States of America
Office of the United States Attorney
111 South Main Street, Suite 1800
Salt Lake City, Utah 84111-2176
Telephone: (801) 524-5682

                            IN THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF UTAH


  UNITED STATES OF AMERICA,                         Case No. 2:23-cr-00365 TC

          Plaintiff,                                THIRD NOTICE OF COMPLIANCE
                                                    AND REQUEST FOR RECIPROCAL
          vs.                                       DISCOVERY

  RITHY CHHAK and
  VALENE STEPHANIE SMITH,
                                                    Judge Tena Campbell
          Defendants.


       The United States of America, by and through the undersigned, hereby files its third

notice of compliance with its discovery obligations in this case and request for reciprocal

discovery from the defendants.

       The United States gives notice that the following is being or has been provided to counsel

for the defendants:

                       Description                                  Bates Numbers

 Body Cam, Photographs, Spreadsheets, and             See attached discovery index
 Reports uploaded to USAfx (NOC 3)


       Pursuant to Rule 12(b)(4)(A) of the Federal Rules of Criminal Procedure, the United

States notified the defense that at trial, the United States may seek to use all physical evidence,

statements made by the defendant and others, police reports, phone records, electronic evidence
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(including body camera footage), documents, and photographs obtained during the investigation.

The United States reserves the right to introduce in its case-in-chief all tangible objects, physical,

documentary, and electronic evidence, and all other evidence provided, made available, or

identified in discovery.

       As additional discoverable material becomes available, such material will be provided

within a reasonable time. Throughout this case, the United States will provide material

discoverable under Rules 16 and 26.2 of the Federal Rules of Criminal Procedure and the Jencks

Act without requiring the defendant to make a specific request for such material. Upon the

request of the defendant, the United States will permit and facilitate the defendant’s own

inspection, copying or photographing of those items described/defined in Rule 16(a)(1)(E).

       The United States also hereby requests disclosure of evidence by the defendant (also

known as reciprocal discovery) pursuant to Rule 16(b) of the Federal Rules of Criminal

Procedure and DUCrimR 16-1(c). By providing Rule 16 discovery without requiring a specific

request from the defense, the United States invokes a reciprocal obligation on the defendant

under DUCrimR 16-1(c), which states that the defendant must allow the government to inspect

and to copy the following, as further defined in Rule 16 of the Federal Rules of Criminal

Procedure:

               a.      Documents and tangible objects the defendant intends to introduce as

                       evidence at trial;

               b.      Reports of examinations and tests the defendant intends to introduce at

                       trial or that were prepared by a witness whom the defendant intends to call

                       at trial; and




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               c.      A written summary of the testimony of any expert the defendant intends to

                       use a trial under Federal Rules of Evidence 702, 703 and 705.

The United States requests that the defendant provide to the government at a reasonable time

before trial, but no later than five working days before trial, copies of the material referenced in

this paragraph. Further, the United States requests continuing compliance with the reciprocal

discovery following the initial disclosure.

       The United States also hereby requests all written and recorded statements by any witness

other than the defendant whom the defendant intends to call at trial or a hearing covered by the

Jencks Act or Rule 26.2 of the Federal Rules of Criminal Procedure.

       DATED this 29th day of January, 2024.

                                               TRINA A. HIGGINS
                                               United States Attorney


                                               /s/ Angela Jean Clifford
                                               ANGELA JEAN CLIFFORD
                                               Assistant United States Attorney




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                               CERTIFICATE OF SERVICE

       I certify that on the 29th day of January, 2024, the Third CERTIFICATE OF

COMPLIANCE AND REQUEST FOR RECIPROCAL DISCOVERY was filed electronically to

the District Court, and caused to be made available for download from USAfx, to the following:


       Scott C. Williams
       SCOTT C WILLIAMS LLC
       43 East 400 South
       Salt Lake City, UT 84111
       Telephone: (801) 220-0700
       Email: scwlegal@gmail.com
       Counsel for Rithy Chhak

       Nathan K. Phelps
       Federal Public Defender - District of Utah
       46 W Broadway, Ste 110
       Salt Lake City, UT 84101
       Telephone: (801) 524-4010
       Email: nathan_phelps@fd.org
       Counsel for Valene Smith




                                            /s/ Ingrid Westphal-Kelson
                                            Ingrid Westphal-Kelson
                                            Paralegal Specialist




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                                        US v. RITHY CHHAK, ET AL. DISCOVERY INDEX

CATEGORY          FOLDER NAME           DESCRIPTION                                                                                  BATES BEGIN           BATES END              NOC

Body Cams         Taylorsville PD       Body Cam footage - Video (Produced in Native Format)                                         BWC-01-00003          BWC-01-00004            3
                  Taylorsville PD       Body Cam footage - Audio (Produced in Native Format)                                         BWC-01-00005          BWC-01-00010            3
Investigative     Taylorsville PD       Taylorsville PD Report, GO# TY 2023-27302                                                    INV-TPD-01-00005      INV-TPD-01-00005.20     3
                  Taylorsville PD       Taylorsville PD Report, GO# TY 2023-27883 (page 12 of report, unredacted)                    INV-TPD-01-00001.15   INV-TPD-01-00001.15     3
                  UBFS                  Utah Bureau of Forensic Services, Forensic Analysis Report - Controlled Substance Analysis   INV-UBFS-01-00001     INV-UBFS-01-00001.02    3
                  UBFS                  Utah Bureau of Forensic Services, NIBIN Correspondence                                       INV-UBFS-01-00002     INV-UBFS-01-00002.04    3
Photographs       Taylorsville PD       Photographs of evidence                                                                      PH-01-00108           PH-01-00110             3
Search Warrants   Warrant No. 2708451   Acura history 8-18-23 to 8-23-23 spreadsheet (Produced in Native Format)                     SW-01-00004           SW-01-00004             3
                  Warrant No. 2708451   Acura history 8-18-23 to 8-23-23 spreadsheet (Produced in Native Format)                     SW-01-00005           SW-01-00005             3
                  Warrant No. 2708451   Acura history 8-18-23 to 8-23-23 spreadsheet (Produced in Native Format)                     SW-01-00006           SW-01-00006             3
                  Warrant No. 2708451   Evidence Report SBI spreadsheet (Produced in Native Format)                                  SW-01-00007           SW-01-00007             3
